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 1   DWIGHT M. SAMUEL (CA BAR# 054486)
     A PROFESSIONAL CORPORATION
 2   117 J Street, Suite 202
     Sacramento, California 95814
 3   916-447-1193
 4   Attorney for Defendant
     PRASERT SOMSINSAWASDI
 5
 6
 7
 8                             IN THE UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )
                                      )              NO. 06-CR-0343-DLJ
12              Plaintiff,            )
13                                    )
          v.                          )              STIPULATION AND
14                                    )              PROPOSED ORDER
     PRASERT SOMSINSAWASDI,           )
15                                    )
                Defendant.            )
16
     ________________________________)
17
18         Defendant, through counsel, and the United States of America, through Assistant U.S.
19   Attorney Benjamin Wagner, agree that the Status Conference on July 24, 2007 be continued to
20
     August 14, 2007 at 9:00 am.
21
           In addition, it is agreed that the court should find excludable time from July 24, 2007 to
22
     August 14, 2007 pursuant to local rule T-4 based on the representation of counsel that
23
24   additional time is necessary to discuss plea agreement.

25   Respectfully submitted,
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            Case 2:06-cr-00343-JAM Document 134 Filed 07/23/07 Page 2 of 2


 1   DATED: July 19, 2007                    /s/Dwight M. Samuel
                                             DWIGHT M. SAMUEL
 2
                                             Attorney for Defendant
 3                                           Prasert Somsinsawasdi

 4
     DATED: July 19, 2007                    /s/Bruce Locke
 5                                           Bruce Locke
 6                                           Attorney for Defendant
                                             Noy Somsinsawasdi
 7                                           (Signed per Telephonic authorization)

 8
 9
10   DATED: July 19, 2007                    /s/Benjamin Wagner
                                             Benjamin Wagner
11                                           Assistant United States Attorney
                                             (Signed per Telephonic authorization)
12
13
14
15         IT IS SO ORDERED.
16
           DATED: July 20, 2007
17
                                             ___________________________
18                                           D. Lowell Jensen
                                             United States District Judge
19
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